          Case 22-90323 Document 21 Filed in TXSB on 10/17/22 Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
    ________________________________________
    In re:                                     )  Chapter 11
                                               )
    Montrose Multifamily Members, LLC, et al.1 )  Case No. 22-90323
                                               )
             Debtors.                          )  Jointly Administered
                                               )
    ________________________________________ )

                      NOTICE OF HEARING ON FIRST DAY MOTIONS

        PLEASE TAKE NOTICE that on October 13, 2022, the Debtors filed their Emergency
Motion for (I) Interim Use of Cash Collateral Pursuant to 11 U.S.C. § 363(c), (II) Granting
Adequate Protection for the Use of Cash Collateral and (III) Scheduling a Final Hearing Pursuant
to Bankruptcy Rule 4001 As to the Use of Cash Collateral [Dkt. No. 16) (the “Cash Collateral
Motion”), Emergency Motion of Debtors for Entry of an Order Extending Time to File Schedules
and Statements of Financial Affairs [Dkt. No. 17] (the “Schedules and Statement of Financial
Affairs Motion”), Emergency Motion for Order (I) Prohibiting Utility Companies from Altering,
Refusing, or Discontinuing Service and (II) Establishing Procedures for Determining Requests for
Additional Members, LLC [Dkt. No. 18] (the “Utility Motion”), the Emergency Motion for Order
Authorizing the Continued Use of Existing (I) Cash Management System and (II) Bank Accounts
[Dkt. No. 10] (the “Cash Management Motion”).

       PLEASE TAKE FURTHER NOTICE that the hearings on the Cash Collateral Motion,
the Schedules and Statement of Financial Affairs Motion, the Utility Motion, and the Cash
Management Motion have been reset to October 18, 2022, at 1:00 p.m. (Prevailing Central
Time), before the Honorable David R. Jones. You may participate through audio and video
connection.

         PLEASE TAKE FURTHER NOTICE that audio connection will be by use of the Court’s
dial-in facility. You may access the facility at 832-917-1510. Once connected, you will be asked
to enter the conference rom number. Judge Jones’ conference room number is 205691. Video
communication will be by use of the GoToMeeting platform. Connect via the free GoToMeeting
application or click on the link in Judge Jones’ homepage. The meeting code is “JudgeJones.”
Click the settings icon on the upper right corner and enter your name under personal information
setting.



1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Montrose Multifamily Members II, LLC (5725); Colquitt 2008, LP (6108); Westmoreland
Partners, LLC (1492); Graustark Members II, LLC (1605); Kipling Partners LLC (2339); MT Vernon Members, LLC
(5014); and Norfolk Partners LLC (3182). The location of Debtor Montrose Multifamily Members, LLC’s principal
place of business and the Debtors’ service address is 4203 Montrose Blvd, Suite 400, Houston, Texas, 77006.
        Case 22-90323 Document 21 Filed in TXSB on 10/17/22 Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that the hearings must be made electronically in
advance of both electronic and in-person hearings. To make your appearance, click the “Electronic
Appearance” link on Judge Jones’ homepage. Select the case name, complete the required fields
and click “Submit” to complete your appearance.

        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter
11 cases are available for a nominal fee through the PACER system on the Court’s website at
https://ecf.txs.uscourts.gov in accordance with the procedures and fees set forth therein.

       Dated: October 17, 2022

                                              TRAN SINGH, LLP

                                         By: /s/Susan Tran Adams
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                                            Proposed counsel for Debtors and Debtors in
                                            Possession

                               CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2022, the parties on the attached service list were
provide a true and correct copy of the foregoing via U.S. First Class Mail and through CM/ECF
through the parties requesting electronic notice.

                                                    /s/Susan Tran Adams
                                                    Susan Tran Adams
